                 Case 4:21-mj-00011-HCA Document 22 Filed 01/25/21 Page 1 of 1
                                       UNITED STATES DISTRICT COURT                                    WESTERN DIVISION
                                        SOUTHERN DISTRICT OF IOWA                                  U. S. Post Office and Federal Building
                                                   123 East Walnut Street                               8 South 6th Street, Room 313
                                                  Des Moines, Iowa 50309                                 Council Bluffs, Iowa 51501
                                                    Tel: (515) 284-6248                                        (712) 328-0283

                                                                                                        EASTERN DIVISION
                                                                                                       131 East 4th Street, Suite 150
                                                                                                         Davenport, Iowa 52801
                                                                                                             (563)884-7607




District of Columbia

                               ✔ Magistrate Case
Transfer of G Criminal Case or G
SDIA Case No. 4:21-mj-00011-HCA-1                Case Title: USA v. Jensen, Case No. 1:21-cr-6

Dear Sir/Madam:

Pursuant to F.R.CR.P. 5:
✔ This is an electronically filed case and the documents are available through Pacer
G
G Certified copy of case file documents (Filed prior to November 1, 2004**) and docket sheet
G Not for public view document (pursuant to Judicial Conference policy)
✔ Other Financial Affidavit sent via separate email
G
Pursuant to G F.R.CR.P. 20 / G F.R.CR.P. 21:
G This is an electronically filed case and the documents are available through Pacer.
G Certified copy of case file documents (Filed prior to November 1, 2004**) and docket sheet
G Not for public view document (pursuant to Judicial Conference policy)
G Other
Pursuant to 18 U.S.C. § 3605 Transfer of Jurisdiction G Supervised Release            G Probation
G This is an electronically filed case and the documents are available through Pacer.
G Certified copy of case file documents (Filed prior to November 1, 2004**) and docket sheet
G Not for public view document (pursuant to Judicial Conference policy)
G Other


   **Note: Documents filed on or after November 1, 2004 are available electronically through PACER.
   Electronically filed documents can be retrieved by using your court’s PACER account .


                                                                Sincerely,

                                                                Clerk, U.S. District Court

                                                                By    /s/ M. Lee
                                                                      Deputy Clerk



                                   TO BE COMPLETED BY RECEIVING DISTRICT

Please acknowledge receipt via e-mail to the address listed below and provide the case number assigned in your district:

    Iasd_casemanagers@iasd.uscourts.gov
                                                                      Clerk, U.S. District Court


                                                                By:
Date                                                                  Deputy Clerk




 CR-48 (1/11)                                          Criminal Cover Letter
